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 7                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 8
 9   ORLANDO GARCIA,                       ) Case No.: 2:20-cv-11430-KES
                                           )
10                                         )
            Plaintiff,                     ) ORDER
11                                         )
       v.                                  )
12                                         )
     VALLEY HI TRADING, INC., a California )
13                                         )
     Corporation; and Does 1-10,           )
14                                         )
            Defendant.                     )
15                                         )
                                           )
16
17                                             ORDER
18
19         The Court hereby vacates all currently set dates, with the expectation that the
20   parties will file a Joint Stipulation for Dismissal within 60 days.
21
22   IT IS SO ORDERED.
23
24   Dated: ______________             _____________________________________
                                       HONORABLE KAREN E. SCOTT
25
                                       United States Magistrate Judge
26
27
28


     Notice of Settlement                     -1-                  2:20-cv-11430-KES
